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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

CODY MICHAEL ROBERTS,

        Plaintiff,
                                                                Case No. 20-cv-187-jdp
   v.

SUE NOVAK, BRIAN GUSTI<E,
BRYANT. GERRY, AUSTIN SCHIACHTER,
ANDREW JAMES JEZUIT, JASON KOEHN, SHAYNE
S. LOYD, ALEXANDER T. YOUNGER, JEFFREY
NGUYEN, JEFF G. REWEY, I<ENNETH DAVIS,
SHELDON BEST, VICTORIA POOLE, TERESA
GAIER, and NURSE JEREMY,

        Defendants.


                             · JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of defendants •

dismissing plaintiff Cody Michael Roberts' claims against Brian Gustke, Nurse Jeremy, Shaynes

S. Loyd, Jeffrey Nguyen, Sue Novak, Jeff G. Rewey, Alexander T. Younger, Kenneth Davis,

Teresa Gaier, Bryan Gerry, Austin Schlachter, Victoria Poole and Sheldon Best.

        IT IS FURTHER ORDERED AND ADJUDGED that judgment is entered in

favor of defendants Andrew James Jezuit and Jason Koehn in accordance with the jury's verdict.

Approved as to form this _ _ /-;_r_ day of October, 2021.


James~on
District Judge


  t]~o~ Peter Oppeneer,'clerkofcourt
